     6:21-cv-00128-PRW Document 2 Filed in ED/OK on 04/26/21 Page 1 of 43




                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF OKLAHOMA


THE CHOCTAW NATION,

       Plaintiff,

v.

1. CAREMARK PHC, LLC;
2. CAREMARK PCS HEALTH, LLC;
3. CAREMARK, LLC;                                             21-CV-128-SPS
                                            Civil Action No. _____________
4. CAREMARK RX, LLC;
5. AETNA, INC.;
6. AETNA HEALTH, INC.;
7. OPTUMRX, INC.;
8. OPTUM, INC.;
9. OPTUMRX HOLDINGS, LLC;
10. UNITED HEALTHCARE SERVICES,
    INC.; and
11. UNITEDHEALTH GROUP, INC.

       Defendants.



            COMPLAINT FOR DAMAGES AND DECLARATORY RELIEF
       6:21-cv-00128-PRW Document 2 Filed in ED/OK on 04/26/21 Page 2 of 43




                                                 TABLE OF CONTENTS



I.      INTRODUCTION ...............................................................................................................3

II.     PARTIES .............................................................................................................................7

        A.         The Choctaw Nation (Plaintiff) ...............................................................................7

        B.         CVS Defendants.......................................................................................................8

        C.         Optum Defendants .................................................................................................11

III.    JURISDICTION AND VENUE ........................................................................................13

IV.     LEGAL FRAMEWORK ...................................................................................................14

        A.         Indian Health Service Provides Funding for the Nation’s Healthcare ...................15

        B.         The IHCIA Authorizes the Nation to Recoup from Third Parties the Cost
                   of Services Provided to the Nation’s Members .....................................................17

V.      FACTUAL ALLEGATIONS ............................................................................................19

        A.         Defendants Profit from PBM Services at the Expense of Patient Care .................20

        B.         The Nation Operates ITU Pharmacies, Which Are Federally Exempt
                   from Defendants’ Schemes ....................................................................................22

                   1.         The Nation Is Entitled to Recoup Service Costs from Defendants
                              under the Recovery Act .............................................................................24

                   2.         Defendants Are Subject to the Recovery Act ............................................25

        C.         Defendants Violate the Recovery Act....................................................................25

        D.         Defendants Leverage Discount Programs to Unlawfully Hinder the
                   Nation’s Recoupment Benefit ................................................................................27

                   1.         Discount Programs Create Significant Profit for PBMs ............................27

                   2.         ITU Pharmacies Traditionally Ignored Discount Programs ......................29

                   3.         Defendants Inextricably Integrated Their Discount Program
                              Information into Members’ Insurance Information ...................................30


                                                                    i
        6:21-cv-00128-PRW Document 2 Filed in ED/OK on 04/26/21 Page 3 of 43




                    4.         Defendants’ Integrated Discount Program Information Forces the
                               Nation to Either Pay or Forgo Recovery under the Recovery Act ............30

         E.         Defendants Continually and Intentionally Refuse to Repay the Nation ................34

         F.         Defendants’ Conduct Impairs the Quality of the Nation’s Healthcare
                    Program ..................................................................................................................35

VI.      COUNTS............................................................................................................................36

VII.     PRAYER FOR RELIEF ....................................................................................................41

VIII.    JURY DEMAND………………………………………………………………………...42




                                                                     ii
     6:21-cv-00128-PRW Document 2 Filed in ED/OK on 04/26/21 Page 4 of 43




                                   I.        INTRODUCTION

        1.      This litigation concerns the federal statutory claims of a federally recognized Native

American Nation—Plaintiff The Choctaw Nation (“Nation”)—under the Indian Health Care

Improvement Act (“IHCIA”). The IHCIA contains a financial recoupment mechanism codified in

25 U.S.C. § 1621e (the “Recovery Act”), which authorizes Native American tribes and nations to

recover the cost of healthcare services they provide to members of federally recognized tribes or

nations (“Members”). The Recovery Act authorizes the recovery of these costs from third parties

responsible for Members’ insurance coverage.

        2.      The Nation operates several pharmacies under the IHCIA (known as “ITU

Pharmacies”) providing services to Members, including many citizens of Oklahoma. Pursuant to

federal law, Members are eligible to receive health care (including prescription drugs and other

pharmacy services) at the Nation’s facilities at no charge, with no co-pays or other fees. However,

the ITU Pharmacy must still pay for the costs of the medications it dispenses to Members. To

offset these costs, the Nation has the right under the Recovery Act to recoup the costs of covered

services the Nation provides to a Member from any applicable insurance coverage the Member

may have.

        3.      Defendants at issue are those Pharmacy Benefit Managers (“PBMs”) who ignore

this federal law by rejecting or otherwise hindering the Nation’s claims for reimbursement.

Defendants unlawfully reject the Nation’s claims for reimbursement and/or hinder the Nation’s

ability to recover its costs. This leaves the Nation without the benefit of this essential, and federally

required, cost recovery mechanism. Thus, Defendants violate the Recovery Act.

        4.      The Nation respectfully requests the Court enter judgment in its favor and award

damages as set out in COUNTS ONE and TWO or, alternatively, disgorgement as set out in




                                                   3
       6:21-cv-00128-PRW Document 2 Filed in ED/OK on 04/26/21 Page 5 of 43




COUNT THREE; injunctive relief as set out in COUNT FOUR; declaratory relief as set out in

COUNT FIVE; attorney’s fees and cost of litigation; and any other relief this Court deems proper.

                            II.       SUMMARY OF THE CASE

         5.     This case arises under federal laws 1 guaranteeing Native Americans access to

healthcare. With the support of these laws, the Nation has established a robust healthcare system,

which includes several ITU Pharmacies 2 throughout the territory of the Choctaw Nation. The

Nation’s ITU Pharmacies provide services to Members, including many citizens of Oklahoma.

         6.     Pursuant to federal law, Members are eligible to receive health care (including

pharmacy services) at the Nation’s facilities at no charge. The Member pays no co-pay or other

fees for healthcare services, including prescription medications he or she receives from the

Nation’s ITU Pharmacies. However, the ITU Pharmacy must still pay for the costs of the

medications it dispenses to Members. To offset these costs, the Nation has the right to recoup the

costs of covered services the Nation provides to a Member from any applicable insurance coverage

the Member may have. The Nation therefore enjoys the status of a “payor of last resort.” Clear,

unambiguous federal laws guarantee this right. Defendants ignore these laws and fail to reimburse

the Nation.




1
    25 U.S.C. § 1621, et seq.; see Section IV—“Legal Framework”, infra.
2
  “ITU Pharmacies” are those pharmacies operated by Indian Health Service (“IHS”), an Indian
tribe or tribal organization, or an urban Indian organization, all of which are defined in Section 4
of the Indian Health Care Improvement Act (“IHCIA”), 25 U.S.C. 1603. The Nation’s pharmacies
are ITU Pharmacies.
When a Member of any Nation visits an ITU Pharmacy (whether run by that Member’s respective
nation or another nation), that Member receives services for no charge, and that ITU Pharmacy
has a 25 U.S.C. § 1621e right of recoupment against the Member’s insurer (if the Member has
coverage).


                                                 4
     6:21-cv-00128-PRW Document 2 Filed in ED/OK on 04/26/21 Page 6 of 43




       7.      Defendants make up two of the largest vertically integrated pharmacy

conglomerates in the U.S. They consist of captive PBMs, along with large health insurance plans

and networks. They provide and manage many of the insurance programs covering Members. The

CVS Defendants 3 allocate a significant portion of their management services to (and derive a

complementary proportion of revenue from) their captive pharmacy benefits plan under the

subsidiary, Defendant Aetna. Similarly, the Optum Defendants 4 allocate a significant portion of

their management services to (and derive a complementary proportion of revenue from) the

pharmacy benefit plans of the Optum parent company—Defendant United Health Group. Of

course, these relationships make up a respectively predominant portion of each of the CVS and

United Health Group conglomerate’s revenue stream and allow Defendants to exert significant and

substantial control over the pharmacy market.

       8.      In approximately 2015, the Nation’s ITU Pharmacies began experiencing numerous

and unprecedented claim denials. These denials emanated from Defendants’ various PBM entities

on behalf of the respective health benefits plans they managed (predominantly, Aetna and United

Health Group plans). Defendants began denying claims—claims for covered drugs, for which the

Nation had previously submitted and received reimbursement without issue—for reasons that have

no applicability whatsoever to ITU Pharmacies. These denials were based on Defendants’ retail

pharmacy rules from which the Nation is exempt. 5 These claim denials violate specific provisions


3
 The “CVS Defendants” are Defendants Caremark PHC, LLC; CaremarkPCS Health, L.L.C.;
Caremark, L.L.C.; Caremark Rx, L.L.C.; Aetna, Inc.; and Aetna Health, Inc. See Section II—
Parties, infra.
4
 The “Optum Defendants” are OptumRx, Inc.; OptumRx Holdings, LLC; Optum, Inc.;
UnitedHealth Group, Inc.; and United Healthcare Services, Inc. See Section II—Parties, infra.
5
  See Section V.B., infra. These unlawful denials were based on many of Defendants’ retail
pharmacy rules, which are wholly inapplicable to ITU Pharmacies. These rules include but are not
limited to requirements that (a) patients use a specialty pharmacy to fill certain prescriptions; (b)
patients visit an in-network pharmacy; or (c) patients use a mail-order pharmacy. While these

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     6:21-cv-00128-PRW Document 2 Filed in ED/OK on 04/26/21 Page 7 of 43




of the IHCIA and deprive the Nation of critical healthcare funding. They impact the livelihood of

some of the most vulnerable Native American Member-patients.

       9.      In further violation of the law, Defendants employ a novel scheme whereby they

effectively compel the Nation’s ITU Pharmacies to participate in their many drug discount

programs. Because Members pay no fee for their prescription medications and other pharmacy

services at ITU Pharmacies, Defendants’ discount programs force the Nation to incur a loss in

order to benefit from its right to recover costs for covered medications. Discount program

information was, until recently, separate and distinct from the insurance benefit information an

ITU Pharmacy needed to file a reimbursement claim with an insurer. Previously, the ITU

Pharmacy could avoid the forced loss by simply removing the discount information from a

Member-patient’s file. But now, Defendants have inextricably integrated discount program

information with Member’s insurance information. Therefore, the Nation must either (a)

participate in the drug discount programs at a loss or (b) forgo reimbursement that is guaranteed

and protected by federal law and essential to the Nation’s healthcare budget. This constitutes an

unlawful hindrance of the Nation’s ability to avail itself of the federal recoupment provision in

violation of federal law. See 25 U.S.C. § 1621e(c). 6

       10.     Defendants knowingly, intentionally, and unjustifiably refuse to pay to the Nation

the funds it is entitled to recoup for pharmaceutical benefits, medical devices, and other products

and services provided to Members with Defendant-administered and/or -issued coverage.


requirements may be contractually valid between Defendants and a retail pharmacy, Defendants
cannot deny reimbursement claims from ITU Pharmacies for these reasons. See 25 U.S.C. § 1621e.
6
  Reimbursement from insurers does not offset, reduce, or otherwise impact the amount of
healthcare funding the Nation receives from other sources, including the federal Government. The
funds Defendants wrongfully withhold from the Nation would otherwise increase the Nation’s
healthcare budget and allow it to serve its at-need population. Defendants thereby act in direct
contravention of federal policy promoting health care for Native Americans.


                                                 6
     6:21-cv-00128-PRW Document 2 Filed in ED/OK on 04/26/21 Page 8 of 43




Defendants blatantly and intentionally ignore their legal obligation to the Nation. They have, for

years, ignored the Nation’s requests for both repayment and explanation.

       11.     After myriad attempts to resolve Defendants’ wrongs, the Nation now seeks relief

from this Court in the form of payment of all withheld costs of pharmaceutical benefit services the

Nation provided, and continues to provide, to Members from Defendants—as insuring and/or

administering the insurance plans of those Members—as well as equitable relief to prevent the

Defendants’ wrongful acts from continuing.

                                    III.       PARTIES

A.     The Choctaw Nation (Plaintiff)

       12.     The Choctaw Nation (the “Nation”) is a sovereign and federally recognized Native

American tribal nation headquartered at 1802 Chukka Hina, Durant, Oklahoma, 74701. The Nation

has a vibrant and unique cultural heritage, along with a strong tradition of organized self-

government. The Nation pursues its stated mission of enhancing the overall quality of life of the

Choctaw people in part through its healthcare system. Through perseverance and extraordinary

effort, along with the support of federal funding and recoupment from insurers under 25 U.S.C.

§ 1621e, the Nation has developed a comprehensive healthcare system, which includes several

ITU Pharmacies throughout the Nation and located in the State of Oklahoma. In accordance with

the intent of federal programs supporting the Nation, the Nation’s ITU Pharmacies provide

prescription medications (and even the most expensive specialty medications) at absolutely no cost

to Members. This is supported by the recoupment provisions codified in 25 U.S.C. § 1621e, as

explained in Section IV, infra.




                                                7
       6:21-cv-00128-PRW Document 2 Filed in ED/OK on 04/26/21 Page 9 of 43




B.        CVS Defendants

          13.    The pharmacy conglomerate operating under the brand “CVS” is one of the largest

companies in the U.S. It is currently listed as number five in the Fortune 500 list.7 CVS is a

vertically integrated healthcare company: it operates one of the nation’s largest retail pharmacy

network, owns the largest PBM—Caremark, and is the nation’s largest provider of individual Part

D prescription drug plans, with over 7.6 million enrollees as of 2019. The CVS conglomerate earns

billions of dollars in annual revenue.

          14.    In acquiring Aetna in 2018, CVS purchased the nation’s third-largest health-

insurance company and fourth-largest individual Part D insurer. Aetna was required to sell off its

standalone Medicare D prescription drug plan as part of the merger. Aetna sold it to WellCare, and

CVS Caremark is now the PBM and third-party administrator for WellCare.

          15.    The CVS conglomerate is wholly owned and controlled by the holding company

CVS Health Corporation. 8

          16.    As used throughout this Complaint, the “CVS Defendants” are Defendants

Caremark PHC, LLC; CaremarkPCS Health, L.L.C.; Caremark, L.L.C.; Caremark Rx, L.L.C.;

Aetna, Inc.; and Aetna Health, Inc. On information and belief, each is a wholly owned subsidiary

of the CVS Health Corporation holding company or one of CVS Health Corporation’s wholly

owned subsidiaries. 9

          17.    Defendant CaremarkPCS Health, L.L.C. and Caremark L.L.C. are agents and/or

alter egos of Defendant Caremark Rx, L.L.C., and Defendant Caremark Rx, L.L.C. is an agent


7
    See Fortune 500 List, available at https://fortune.com/fortune500/ (last visited Aug. 4, 2020).
8
 See CVS Health Corporation SEC Form 10-k for fiscal year ended Dec. 31, 2019, available at
https://www.sec.gov/ (last visited Aug. 09, 2020).
9
    See Id.


                                                   8
    6:21-cv-00128-PRW Document 2 Filed in ED/OK on 04/26/21 Page 10 of 43




and/or alter ego of CVS Health. For example, Jonathan C. Roberts, CEO of Caremark Rx, L.L.C.,

is Executive Vice President and Chief Operating Officer of CVS Health Corporation. Thomas S.

Moffatt, Secretary of Caremark Rx, L.L.C. and Caremark, L.L.C., is a Vice President, Assistant

Secretary, and Assistant General Counsel at CVS Health Corporation. Anne E. Klis, CEO of

Caremark, L.L.C., is Vice President of Professional Practice and Training at CVS Health

Corporation. Daniel P. Davison, CEO of CaremarkPCS Health, L.L.C., is Senior Vice President

of Finance at CVS Health Corporation. Melanie K. Luker, Assistant Secretary of CaremarkPCS

Health, L.L.C., is Manager of Corporate Services at CVS Health Corporation.

       1.     Defendant Caremark PHC, LLC

       18.    Defendant Caremark PHC, LLC (“Caremark PHC”) is a limited liability

corporation that is a wholly owned subsidiary of CVS Health. On information and belief, Caremark

PHC, LLC is part of CVS Health’s PBM business model.

       19.    Caremark PHC is registered to do business in Oklahoma and may be served with

process through its registered agent, The Corporation Company, 1833 South Morgan Road,

Oklahoma City, Oklahoma, 73128.

       2.     Defendant Caremark PCS Health, LLC

       20.    Defendant CaremarkPCS Health, L.L.C., formerly known as Caremark PCS

Health, L.P., is a Delaware limited liability corporation. It was incorporated in 2002 and is

headquartered at 750 West John Carpenter Freeway, Irving, Texas 75039. CaremarkPCS Health,

L.L.C., d/b/a CVS Caremark, provides pharmacy benefit management services to various health

insurance entities. CaremarkPCS Health, LLC is a wholly owned subsidiary of CVS Health.

       21.    Caremark PCS Health, LLC is registered to do business in Oklahoma and may be

served with process through its registered agent, The Corporation Company, 1833 South Morgan

Road, Oklahoma City, Oklahoma, 73128.


                                               9
    6:21-cv-00128-PRW Document 2 Filed in ED/OK on 04/26/21 Page 11 of 43




         3.    Defendant Caremark, LLC

         22.   Defendant Caremark, L.L.C., a California limited liability company, is

headquartered at 2211 Sanders Road, Northbrook, Illinois 60062-6128. Caremark, L.L.C. offers

pharmacy benefit management services to various health insurance entities. Caremark, L.L.C. is a

wholly owned subsidiary of CVS Health Corporation.

         23.   Caremark, LLC is registered to do business in Oklahoma and may be served with

process through its registered agent, The Corporation Company, 1833 South Morgan Road,

Oklahoma City, Oklahoma, 73128.

         4.    Defendant Caremark RX, LLC

         24.   Defendant Caremark Rx, L.L.C., a Delaware limited liability company, is

headquartered at 211 Commerce Street, Nashville, Tennessee 37201. Caremark Rx, L.L.C.

provides pharmacy benefit management services. Caremark Rx, L.L.C. is a wholly owned

subsidiary of CVS Health Corporation. Caremark Rx, L.L.C. is the parent of Defendant CVS

Health Corporation’s pharmacy services subsidiaries and is the immediate or indirect parent of

many pharmacy benefit management subsidiaries, including Defendant CaremarkPCS Health,

L.L.C.

         5.    Defendant Aetna, Inc.

         25.   “Aetna” is the brand name for insurance products issued by the subsidiary insurance

companies controlled by Defendant Aetna, Inc. Aetna was merged into the CVS conglomerate in

2018.

         26.   Aetna, Inc. offers employee health benefit plans insuring Members. Aetna’s Health

benefits and health insurance plans are offered and/or underwritten by Aetna Health, Inc., et al. On

November 28, 2018, CVS completed its acquisition of Aetna.




                                                10
     6:21-cv-00128-PRW Document 2 Filed in ED/OK on 04/26/21 Page 12 of 43




         27.   Aetna, Inc. is responsible for denying the Nation’s claims under 25 U.S.C. § 1621e

by means of its parents CVS Caremark and CVS Health’s PBM.

         28.   Aetna, Inc. is headquartered at 151 Farmington Avenue, Hartford, Connecticut

06156.

         6.    Defendant Aetna Health, Inc.

         29.   Aetna Health, Inc. is a licensed insurer in Oklahoma. It may be served with process

through its registered agent, The Corporation Company, at 1833 South Morgan Road, Oklahoma

City, Oklahoma 73128.

C.       Optum Defendants

         30.   Optum is a branded part of UnitedHealth Group Incorporated, a for-profit managed

health care company based in Minnetonka, Minnesota. 10

         31.   Defendant UnitedHealth Group Inc. has two main divisions: UnitedHealthcare,

which provides health benefits, and Optum, which provides health services, including pharmacy

benefit management services.

         32.   In 2011, UnitedHealth Group formed the Optum brand by merging its existing

pharmacy and care delivery services into the single unit, comprised of three main businesses:

OptumHealth, OptumInsight, and Defendant OptumRx (UnitedHealth Group’s PBM). Through its

Optum brand, the company focuses on data and analytics, pharmacy care services, population

health, healthcare delivery and healthcare operations.

         33.   The “Optum Defendants” are OptumRx, Inc.; OptumRx Holdings, LLC; Optum,

Inc.; UnitedHealth Group, Inc.; and United Healthcare Services, Inc.




10
  See UnitedHealth Group Incorporated SEC Form 10-k for fiscal year ended December 31,
2019, available at https://www.sec.gov (last visited Aug. 1, 2020).


                                                11
    6:21-cv-00128-PRW Document 2 Filed in ED/OK on 04/26/21 Page 13 of 43




       1.      Defendant OptumRX, Inc.

       34.     Defendant OptumRX, Inc. (“OptumRX”) is UnitedHealth Group’s pharmacy

benefit manager and care services group. It operates across 150 countries in North America, South

America, Europe, Asia Pacific, and the Middle East. OptumRX is the pharmacy benefit services

subsidiary of UnitedHealth Group, Inc. OptumRx holds approximately 23% of the U.S. PBM

market.

       35.     OptumRX is responsible for issuing unlawful denials of the Nation’s claims under

25 U.S.C. § 1621e on behalf of its parent UnitedHealth Group’s various insurance benefits plans,

as well as other plans OptumRX manages for other insurers.

       36.      OptumRX is a California corporation. Its principal place of business is the

UnitedHealth Group headquarters in Minnetonka, Minnesota. OptumRX is registered to do

business in Oklahoma and may be served with process through its registered agent, The

Corporation Company, at 1833 S. Morgan Road, Oklahoma City, Oklahoma 73128.

       2.      Defendant United HealthCare Services, Inc.

       37.     Defendant United HealthCare Services, Inc. is headquartered at 9700 Health Care

Lane, Minnetonka, Minnesota and incorporated in Minnesota. United HealthCare Services, Inc. is

a subsidiary of Defendant UnitedHealth Group, Inc. and provides pharmacy benefit management

services through its subsidiaries to various health insurance entities. According to Exhibit 21.1 to

UnitedHealth Group Incorporated’s 2016 Securities and Exchange Commission Form 10-K,

United HealthCare Services, Inc. also does business as Optum, Inc.

       3.      Defendant Optum, Inc.

       38.     Optum, Inc. is a PBM headquartered at 11000 Optum Circle, Eden Prairie,

Minnesota and incorporated in Delaware. Optum, Inc. is a subsidiary of UnitedHealthcare




                                                12
    6:21-cv-00128-PRW Document 2 Filed in ED/OK on 04/26/21 Page 14 of 43




Services, Inc., which provides pharmacy benefit management services through its subsidiaries to

various health insurance entities on behalf of more than 65 million plan participants.

       4.      Defendant OptumRx Holdings, LLC

       39.     OptumRx Holdings, LLC is headquartered at 11000 Optum Circle, Eden Prairie,

Minnesota, 55344-2503.

       5.      Defendant UnitedHealth Group, Inc.

       40.     UnitedHealth Group’s various insurance benefits plans unlawfully denied the

Nation’s claims under 25 U.S.C. § 1621e by means of its captive PBM, Defendant OptumRX.

       41.     UnitedHealth Group, Inc. is a Delaware corporation with its principal place of

business in Minnetonka, Minnesota.

                         IV.        JURISDICTION AND VENUE

       42.     This Court may properly exercise jurisdiction over the subject matter of this suit

under 28 U.S.C. § 1331 as the case arises under the IHCIA (see Section IV, infra) and 25 U.S.C.

§ 1621, et al. Furthermore, this Court may properly exercise jurisdiction over the subject matter

of this suit under 28 U.S.C. § 1362, as this matter is brought by a federally recognized Native

American Nation.

       43.     This Court may properly exercise jurisdiction over the parties to this suit. The

Nation consents to this Court’s exercise of jurisdiction over it for the purposes of this suit.

Defendants have sufficient minimum contacts with the State of Oklahoma, including but not

limited to the marketing, sale, and execution of contracts for PBM services in Oklahoma, as well

as the repeated denial of claims for recoupment of costs of goods and services (a) provided by the

Nation to Members in Oklahoma and (b) sent to Defendants from Oklahoma. Defendants have

purposefully availed themselves of the privilege of conducting business in Oklahoma such that

they are subject to suit here. Additionally, Defendants have targeted their wrongful conduct at


                                                13
    6:21-cv-00128-PRW Document 2 Filed in ED/OK on 04/26/21 Page 15 of 43




Members of the Nation in Oklahoma. The Nation’s claims arise out of and relate to Defendants’

contacts with the State. This Court’s exercise of jurisdiction is reasonable; the maintenance of this

suit does not offend traditional notions of fair play and substantial justice.

       44.     Venue is proper within this judicial district pursuant to 28 U.S.C. § 1391. This

action arises out of events, acts, and omissions that occurred in the Eastern District of Oklahoma.

Specifically, the Nation provided services to its Members through its ITU Pharmacies in this

District. Those services gave rise to the Nation’s claims for reimbursement from Defendants and

Defendants’ legal obligation to pay the Nation for those services rendered in this District. The

Nation sent those claims to Defendants from this District, and Defendants disseminated their

unlawful denials to the Nation in this District. Defendants’ failure to pay the Nation’s claim for

reimbursement is the subject of this action.

                              V.         LEGAL FRAMEWORK

       45.     The Federal Government’s obligation to provide for, maintain, and improve the

health of Native Americans is manifest and inherent to Congress’s federal trust responsibility for

Native American nations. See 25 U.S.C. § 1601. It is grounded in both moral imperative and public

health necessity. See id. To that end, Congress has passed several laws that guarantee Native

Americans access to healthcare and provide Native American nations the financial support they

require to develop and implement robust healthcare programs. This suit arises from Defendants’

unlawful and unconscionable disregard of these laws.

       46.     This section describes in detail the mechanisms through which the federal

government provides funding to the Nation for healthcare services and has empowered the Nation

to build its own sophisticated healthcare system. This section then proceeds to explain the federally

enacted recoupment mechanism codified in 25 U.S.C. § 1621e, whereby the Nation may recover




                                                  14
       6:21-cv-00128-PRW Document 2 Filed in ED/OK on 04/26/21 Page 16 of 43




the cost of healthcare services it provides Members from third-parties responsible for those

Members’ coverage.

A.         Indian Health Service Provides Funding for the Nation’s Healthcare

           47.   Indian Health Service (“IHS”) is a federal agency within the Department of Health

and Human Services that is responsible for providing health care and medical services to federally

recognized Native American nations. IHS is not a health insurance program; rather, it is a federally

funded health service provider akin to the Veterans Health Administration that provides health

services directly to beneficiaries or in conjunction with Native American nations. 11

           48.   IHS strives “to raise the physical, mental, social, and spiritual health of [Native

Americans] to the highest level” and “to assure that comprehensive, culturally acceptable personal

and public health services are available and accessible to [Native American] people.” 12 All actions

IHS carries out are “directed toward developing an efficient and effective health care delivery

system and promoting [Native American] participation and management of their own health care

systems.” 13

           49.   IHS provides this critical funding in two ways: (1) IHS provides services to Native

American nations directly, and/or (2) IHS provides funding and support to Native American

nations that have the ability to provide the services themselves.

           50.   Over the past several decades, many Native American nations have moved away

from IHS-controlled health care toward systems they control and direct themselves. Under the

1975 Indian Self-Determination and Education Assistance Act (“ISDEAA”), 25 U.S.C. § 5301, et


11
  IHS is one of four similar foundational federal health delivery systems: IHS, Veterans Health
Administration, Defense Health Agency, and Bureau of Prisons Health Services Division.
12
     Indian Health Services, available at https://www.ihs.gov/aboutihs/ (last visited Feb. 28, 2020).
13
     Id.


                                                   15
     6:21-cv-00128-PRW Document 2 Filed in ED/OK on 04/26/21 Page 17 of 43




seq., nations may assume control over the management of their health care by negotiating “self-

determination contracts” with IHS. 14 The ISDEAA reflects modern federal policy of tribal self-

determination, whereby nations may build the capacity to perform essential governmental

functions, improve the programs themselves, and respond directly to their own needs. 15

       51.     One can find no better example of self-determination than the Choctaw Nation

Department of Health’s network of robust and sophisticated health clinics and ITU Pharmacies,

which the Nation developed pursuant to its Title V Self-Governance Compact.

       52.     In furtherance of ISDEAA policy, Congress enacted the Indian Health Care

Improvement Act (“IHCIA”) in 1976 to assist Native American nations with their health

initiatives. 16 The IHCIA was designed to enhance access to and quality of health care services for

Native Americans. In fact, the IHCIA was the first federal legislation to enact specific statutory

programs for Native American healthcare. In the IHCIA, as amended, Congress established a

national policy intended to ameliorate long-standing health care disparities and to provide

increased and more effective health care services to Native Americans.




14
   25 U.S.C. § 5304(j) (2012) (defining “self-determination contract” as “a contract (or grant or
cooperative agreement utilized under section 5308 of this title) entered into under subchapter I of
this subchapter between a tribal organization and the appropriate secretary for the planning,
conduct and administration of programs or services which are otherwise provided to Indian tribes
and their members pursuant to Federal law”).
15
  Under Title I of the ISDEAA, a nation may contract with IHS to conduct and administer certain
portions of its health program which were previously operated by IHS (“Title I Self-Determination
Contracting”). Under Title V, a nation can exercise more independence by taking over the
operation of its health program in its entirety (“Title V Self-Governance Compacting”). Under
both Title I Contracts and Title V Compacts, IHS continues to fund all health services. These
methods are not mutually exclusive. These are collectively referred to as “638 Compacts” after
Public Law 93-638 (i.e., the ISDEAA).
16
   The 2010 Affordable Care Act (P.L. 110-148) significantly reorganized and permanently
reauthorized the IHCIA.


                                                16
     6:21-cv-00128-PRW Document 2 Filed in ED/OK on 04/26/21 Page 18 of 43




       53.     The IHCIA is the cornerstone legal authority for the provision of health care to

Native Americans. Notably, the IHCIA amended the Social Security Act to permit reimbursement

by Medicare and Medicaid for services provided to Native Americans in IHS and tribal health care

facilities. In doing so, Congress recognized that many Native Americans, especially those residing

in very remote and rural locations, were eligible for but could not access federally-funded

healthcare services without traveling sometimes hundreds of miles to qualified providers located

off reservation: “[f]ederal health services to maintain and improve the health of the [Native

Americans] are consonant with and required by the Federal Government’s historical and unique

legal relationship with and resulting responsibility to the American Indian people.” 25 U.S.C. §

1601(1). And, the IHCIA provides a key reimbursement mechanism to help nations offset the cost

of implementing these important polices.

B.     The IHCIA Authorizes the Nation to Recoup from Third Parties the Cost of Services
       Provided to the Nation’s Members

       54.     Native Americans need not pay for health care services they receive from eligible

providers. Members of any nation who visit the Nation’s ITU Pharmacies pay no co-pay or other

fee for their prescription medications and medical devices.

       55.     To offset the cost of this important privilege, the Nation benefits from an essential

policy of reimbursement and cost recovery from responsible third parties who stand in an inferior

(i.e., more immediate) priority of payment—like Defendants—pursuant to IHCIA Section 206,

codified at 25 U.S.C. § 1621e (referred to herein as the “Recovery Act”). Simply put, the Recovery

Act permits Native American nations to recoup the cost of services they provide Members from

any applicable insurance coverage the Member may have. In this regard, the Nation is a payor of

last resort. 25 U.S.C. § 1623. The Recovery Act provides:

       the United States, an Indian tribe, or tribal organization shall have the right to
       recover from an insurance company, health maintenance organization, employee


                                                17
     6:21-cv-00128-PRW Document 2 Filed in ED/OK on 04/26/21 Page 19 of 43




        benefit plan, third-party tortfeasor, or any other responsible or liable third party
        (including a political subdivision or local governmental entity of a State) the
        reasonable charges billed by the Secretary, an Indian tribe, or tribal organization in
        providing health services through the Service, an Indian tribe, or tribal organization,
        or, if higher, the highest amount the third-party would pay for care and services
        furnished by providers other than governmental entities, to any individual to the
        same extent that such individual, or any non-governmental provider of such
        services, would be eligible to receive damages, reimbursement, or indemnification
        for such charges or expenses if—

                (1) such services had been provided by a non-governmental provider; and

                (2) such individual had been required to pay such charges or expenses and
                    did pay such charges or expenses.

25 U.S.C. § 1621e(a). The right to recover such costs may not be hindered by any policy provision.

Id. § 1621e(c). This right may not be extinguished by specific plan requirements, such as network

participation and/or exclusion from network. Nor may the right be abridged by contract. Id. The

Recovery Act further provides:

        No law of any State, or of any political subdivision of a State and no provision of
        any contract, insurance or health maintenance organization policy, employee
        benefit plan, self-insurance plan, managed care plan, or other health care plan or
        program entered into or renewed after November 23, 1988, shall prevent or hinder
        the right of recovery of the United States, an Indian tribe, or tribal organization
        under subsection (a). 17

        56.     The Nation has standing to bring an action to redress Defendants’ denial of its

recovery of costs under the Recovery Act. Id. § 1621e(e). This includes standing to sue for

equitable relief. Id.

        57.     Prevailing plaintiffs under the Recovery Act are authorized to recover reasonable

attorney fees and costs of litigation. Id. § 1621e(g).


17
  The Nation’s right to recover payments from Defendants is not governed or otherwise controlled
by any provider agreement. Rather, such a right is pursuant to federal law and exists even in the
absence of any provider agreement. The Nation does not bring suit under any agreement or
contract. Rather, the Nation brings suit under 25 U.S.C. § 1621e, which creates a private right of
action for the Nation that cannot be hindered by any contract or contractual provision.


                                                  18
     6:21-cv-00128-PRW Document 2 Filed in ED/OK on 04/26/21 Page 20 of 43




       58.     The applicable statute of limitations is six years before commencement of this

action. Id. § 1621e(j).

                          VI.        FACTUAL ALLEGATIONS

       59.     Defendants have constructed their PBM business models to pad their pockets at the

expense of the quality of patient care. Their efforts to increase revenues and expand their profit

margins cut against the integrity of the American healthcare system by forcing retail pharmacy

patients to bend to an array of specialty pharmacy, mail order pharmacy, and in-network pharmacy

requirements. This case arises from Defendants’ attempts to bend the Nation to these retail tactics,

from which the Nation is federally protected.

       60.     Defendants exemplify the way PBMs gobble up the various plans they manage (or

vice versa) and impose cost-cutting, profit-driven burdens on their beneficiaries. In this regard,

they have become the poster child for the conflicts plaguing the corporate practice of medicine in

the U.S.

       61.     Fortunately, federal law insulates the Nation from many of the greed-driven tactics

Defendants employ in the retail setting. 18 However, Defendants blatantly ignore these protections

by denying the Nation’s claims for recovery of service costs under the Recovery Act. Such conduct

is in direct violation of federal law and deprives the Nation of its ability to effectively provide

healthcare and prescription medications to its Members.

       62.     Defendants go even farther by imposing their discount programs on the Nation,

which frequently result in a loss to the Nation. Defendants’ discount programs thereby prevent



18
  Throughout this Complaint, the Nation refers to “the retail pharmacy setting” to mean the typical
experience of a customer, whether paying in cash or benefitting from insurance coverage, who
visits a retail pharmacy open to the public (e.g., a CVS retail pharmacy), as compared and
contrasted to a Member visiting an ITU Pharmacy.


                                                19
     6:21-cv-00128-PRW Document 2 Filed in ED/OK on 04/26/21 Page 21 of 43




and/or hinder the flow of funding to the Nation’s healthcare system in direct contravention of

federal policy and the Recovery Act § 1621e(c).

A.     Defendants Profit from PBM Services at the Expense of Patient Care

       63.     PBMs today exemplify the ways in which the corporate practice of medicine, driven

by greed, corrupts the integrity of patient care. This case arises out of Defendants’ refusal to

comply with the Recovery Act in an effort to subject the Nation to their usual retail profit-driven

tactics, from which the Nation is protected by federal law.

       64.     PBMs are third-party administrators of prescription drug programs for commercial

health plans, self-insured employer plans, Medicare Part D plans, and government employee plans.

PBMs bill themselves as the “middlemen” between pharmacies, insurers, and drug manufacturers.

In reality, PBMs leverage substantial influence over the breadth of the prescription drug market

and reap great profits from this control.

       65.     PBMs, in managing pharmacy benefit plans, are primarily responsible for

developing and maintaining the plan’s formulary 19, contracting with pharmacies, negotiating

discounts and rebates with drug manufacturers, and processing and paying prescription drug claims

for the plan’s insureds. PBMs operate inside of integrated healthcare systems, as part of retail

pharmacies, and as part of insurance companies. PBMs are the gatekeepers to the vast majority of

prescription drugs filled in the U.S. Patients purchase (or insurers reimburse) over 80% of

pharmaceuticals through PBM networks. In 2019, Defendants controlled approximately fifty-three

percent (53%) of the PBM market. 20


19
  A formulary is a list of generic and brand name prescription drugs covered by a specific health
insurance plan. Generally, a drug on the plan’s formulary is covered by the plan, while a drug
absent from the formulary is not.
20
  Adam Fein, Ph.D, CVS, Express Scripts, and the Evolution of the PBM Business Model, Drug
Channels Institute (May 29, 2019).


                                                20
    6:21-cv-00128-PRW Document 2 Filed in ED/OK on 04/26/21 Page 22 of 43




       66.     Generally, health insurers contract with PBMs to manage their pharmaceutical

costs. The PBM then assumes management of prescription drug benefits on behalf of the insurer.

PBMs help health plans negotiate payment rates with manufacturers through the use of formularies

and utilization management tools. In addition to contracting with commercial health plans, PBMs

contract with state Medicaid departments and with commercial health plans to provide drug

coverage for employer-sponsored plans, exchange plans, and Medicare Part D enrollees.

       67.     The last decade has witnessed significant vertical integration on the part of PBMs,

who increase revenues, expand their profit margin, and exert even greater market control by

absorbing into their business model the benefit plans they manage along with vast networks of

retail and online pharmacies. When criticized for their tactics, PBMs feign innocence as the “mere

middlemen” between pharmacies, insurers, and drug manufacturers. Historically, PBMs have

indeed generated some benefit for patients and insurers by leveraging their size to negotiate rebate

and discount contracts between drug manufacturers and retail outlets. However, corporate greed

has changed the face of pharmacy benefits in the U.S. for the worse. The PBM market has become

a highly consolidated industry plagued by the problems common to the corporate practice of

medicine—namely, the undercutting of patients’ best interests to pad the PBM’s bottom line.

       68.     Defendants operate two of the largest PBMs, and they have grown that way by

integrating their business models with the insurance programs they once served. Insurers have

acquired profitable PBMs (and vice versa) to leverage greater control over drug prices (e.g., to

maximize profit, PBMs now position themselves to benefit from higher drug pricing, manufacturer




                                                21
     6:21-cv-00128-PRW Document 2 Filed in ED/OK on 04/26/21 Page 23 of 43




rebates, and other incentives without passing those benefits to the patient). 21 This is neither novel

nor latent, as PBMs have become synonymous with profit driven healthcare management:

       In the sea of America’s health-care system, pharmacy benefit managers tend to be
       seen as destructive leviathans. Invisible to everyday patients, PBMs lurk beneath
       health-insurance companies and swim through nearly every prescription-drug
       transaction. They squeeze rebates out of drug manufacturers, pass most—but not
       all—of those rebates on to health insurers, pay the pharmacy for the drugs, and
       collect payments from the insurer. In doing so, they subtly shape the currents of
       American health care. 22

B.     The Nation Operates ITU Pharmacies, Which Are Federally Exempt from
       Defendants’ Schemes

       69.     This case arises in part under fundamental differences between retail pharmacies

(which are subject to significant PBM control) and ITU Pharmacies (which benefit from federal

protections from PBM tactics).

       70.     Generally, in the retail setting, the PBM claims process works as follows: first, a

healthcare provider issues a prescription to a patient. The prescription is sent or taken to a

pharmacy. The Pharmacy first checks the prescription with the patient’s insurance provider’s

PBM. The PBM receives the claim, verifies the patient information vis-à-vis the patient’s

insurance provider, confirms eligibility, and returns either a denial or payment information to the

pharmacy. Concurrently, the pharmacist electronically enters and submits a claim to a “switch,”

which automatically sends the claim to the PBM responsible for managing the patient’s pharmacy

benefits. If the PBM returns the prescription as “payable” under the plan, the pharmacist prepares

(or “fills”) the patient’s prescription. The patient receives the filled prescription from the


21
   For example, in March 2007, Caremark merged with CVS Corporation to create CVS Caremark,
later re-branded as CVS Health. Cigna purchased Express Scripts on December 20, 2018.
UnitedHealth acquired PacifiCare in 2005 and siloed the PBM component into what is now called
OptumRX.
22
  Olga Khazan, Invisible Middlemen Are Slowing Down American Health Care, The Atlantic
(April 9, 2019).


                                                 22
     6:21-cv-00128-PRW Document 2 Filed in ED/OK on 04/26/21 Page 24 of 43




pharmacist and may pay a co-pay according to the terms of his or her insurance coverage. The

PBM then sends a bill to the patient’s insurer for the prescription pursuant to its management

contract with the insurer.

       71.     With the typical retail patient-customer, the PBM has the right to enforce certain

restrictions pursuant to the insured’s plan. The PBM may deny claims for payment from a retail

pharmacy based on requirements including (but not limited to) the patient visit only in-network

pharmacies to receive benefits, visit specialty pharmacies to receive specialty medications, and/or

avail themselves of mail-order pharmacies for certain “mail order only” drugs. PBMs routinely

deny claims for retail pharmacy customers based on the customer’s insurance plan rules.

       72.     However, the pharmacy process differs substantially for Members visiting the

Nation’s ITU Pharmacies (as well as any other Nations’ ITU Pharmacies), which benefit from the

support and protections of the Recovery Act. PBMs have no authority to restrict or otherwise

decline reimbursement to the Nation for the costs of goods and services provided by the Nation’s

pharmacies to its Members if the drug is covered under the PBM’s formulary for the Member’s

insurance coverage.

       73.     The Nation operates ITU Pharmacies 23, which are subject to the IHCIA under a




23
  Each of the Nation’s pharmacies is an ITU “Tribal Facility” as defined by 25 U.S.C. § 1603. An
IHS/Tribal/Urban Indian Health (“I/T/U” or “ITU”) Pharmacy means a pharmacy operated by the
Indian Health Service, an Indian tribe or tribal organization, or an urban Indian organization, all
of which are defined in Section 4 of the IHCIA, 25 U.S.C. § 1603. ITU Pharmacies carry the
taxonomy “332800000X.” The Nation’s ITU Pharmacies include the Choctaw Nation Health Care,
Talihina, OK., Choctaw Nation Health Clinic -Rubin White, Poteau, Poteau, OK., Choctaw Nation
Health Clinic - McAlester, McAlester, OK., Choctaw Nation Health Clinic - Idabel, Idabel, OK.,
Choctaw Nation Health Clinic – Stigler, Stigler, OK., Choctaw Nation Health Clinic - Hugo, Hugo,
OK., Choctaw Nation Health Clinic - Atoka, Atoka., OK., Choctaw Nation Health Center Durant
Pharmacy, Durant, OK. Additionally, the Choctaw Nation Department of Health operates the
Choctaw Nation Online Pharmacy Refill Center.


                                                23
       6:21-cv-00128-PRW Document 2 Filed in ED/OK on 04/26/21 Page 25 of 43




“638 Compact.” 24 As such, the Nation’s ITU Pharmacies benefit from the protection of the

Recovery Act. The Nation is therefore entitled to recover their “reasonable billed charges, or, if

higher, the highest amount the third party would pay for care and services furnished by providers

other than governmental entities...”25 U.S.C. § 1621e(a).

          1.     The Nation Is Entitled to Recoup Service Costs from Defendants under the
                 Recovery Act

          74.    The pharmacy experience for a Member of the Nation is different from the average

retail patient-consumer. 25 When a Member of a Nation visits one of the Nation’s ITU Pharmacies

to fill a prescription, the Member receives his or her prescription medication at no cost. The Nation,

by virtue of its various healthcare programs, uses federal funding through IHS to provide

medications to its Members for free. This includes costly specialty medications (e.g., oncology

medications), which may be subject to special requirement (e.g., specialty pharmacy or mail order

pharmacy) in the retail setting. The Member pays neither a copay nor a portion of the cost of the

prescription medication.

          75.    However, in addition to the benefits of federally funded healthcare that is each

Member’s birth right, many Members have insurance coverage. Most often, the Member receives

this coverage through participation in his or her employer’s benefits program. Because the Nation

is a payor of last resort 26, the Member’s insurance coverage becomes responsible for the cost of


24
     See Note 15, supra.
25
     See Section V.B., supra.
26
  See Section IV—“Legal Framework”, supra; see also 25 U.S.C. § 1632, which provides “Health
programs operated by the Indian Health Service, Indian tribes, tribal organizations, and Urban
Indian organizations (as those terms are defined in section 4 of the Indian Health Care
Improvement Act (25 U.S.C. § 1603)) shall be the payer of last resort for services provided by
such Service, tribes, or organizations to individuals eligible for services through such programs,
notwithstanding any Federal, State, or local law to the contrary.”




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    6:21-cv-00128-PRW Document 2 Filed in ED/OK on 04/26/21 Page 26 of 43




medications dispensed at the Nation’s ITU Pharmacies. Pursuant to the Recovery Act, if the

Member has insurance coverage, the Nation is entitled to recoup the cost of the medications

provided to the Member if medication falls within the formulary of the Member’s plan. 25 U.S.C.

§ 1621e.

       76.     When a Member with insurance fills a prescription at one of the Nation’s ITU

Pharmacies, that ITU Pharmacy creates an electronic claim for reimbursement. These claims are

submitted in substantially the same way as a retail, non-ITU Pharmacy would submit a claim to a

non-Member-patient’s insurance plan (see Section V.B., supra): the ITU Pharmacy sends the claim

to the switch, which then sends the claim to the appropriate PBM.

       77.     The Recovery Act requires the PBM to reimburse the Nation’s ITU Pharmacy in

the same way it would reimburse an in-network Pharmacy. See 25 U.S.C. § 1621e(a).

       2.      Defendants Are Subject to the Recovery Act

       78.     For almost every Member with insurance coverage, a PBM is responsible for

managing that Member’s third-party pharmaceutical benefits The PBM is thereby responsible for

making payment decisions, issuing payment for claims, and issuing notice of declined

reimbursement requests under the Recovery Act. Additionally, for almost every such Member with

insurance coverage, the Nation is a payor of last resort with regard to the priority of the Member’s

insurance coverage provider. Thus, Defendants—as PBMs and insurance providers—are

responsible third parties as contemplated under the Recovery Act, 25 U.S.C. § 1621e(a).

   C. Defendants Violate the Recovery Act

       79.     Despite the clarity of the Recovery Act, Defendants unlawfully violate the

Recovery Act and subject the Nation to the profit-driven tactics that dominate Defendants’ retail

business. Defendants do so by denying claims for covered medications the Nation submitted on

behalf of covered Member-patients.


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     6:21-cv-00128-PRW Document 2 Filed in ED/OK on 04/26/21 Page 27 of 43




         80.   In approximately 2015, the Nation’s pharmacies began experiencing numerous and

unprecedented claim denials from the CVS Defendants. The Optum Defendants followed suit in

approximately 2017. Defendants began denying claims for many Members whose claims had, until

that time, been processed and paid without issue. Simply, Defendants began denying claims for

covered drugs for reasons from which the Nation is federally protected. These “the drug is covered,

but…” denials violate the Recovery Act and deprive the Nation of critical healthcare funding.

         81.   PBMs routinely deny claims for retail pharmacy customers based on the customer’s

insurance plan rules. These denials are based on how/where the patient acquires the medication,

not whether the medication is covered. For example, the PBM may deny the claim for (1) being

filled by an out-of-network pharmacy; (2) being a drug that is subject to “forced mail order” rules

in which the PBM must authorize and ship the medication from a specialty or mail-order

pharmacy; or (3) being specialty and/or higher cost drug that can only be dispensed by an enrolled

specialty pharmacy. These are just a few examples of circumstances in which a PBM may deny a

claim submitted by a retail pharmacy (i.e., “the drug is covered, but…” denials).

         82.   The Recovery Act prohibits a PBM from denying claims submitted by an ITU

Pharmacy for these reasons. Thus, while the PBM may permissibly deny an ITU Pharmacy claim

for falling outside the respective administered plan’s formulary (i.e., “the drug is not covered”

because it falls outside the formulary, is “over the counter,” preferred therapeutic alternatives are

available, etc.), the PBM may not deny the claim for any “the drug is covered, but…” reasons

(e.g., it must be filled by a specialty pharmacy, an in-network pharmacy, a mail order pharmacy,

etc.).

         83.   ITU Pharmacies are exempt from the “Specialty Pharmacy,” “Mail Order,” “Not-

In-Network,” and any other “the drug is covered, but…” denials; the PBM is required to reimburse




                                                 26
     6:21-cv-00128-PRW Document 2 Filed in ED/OK on 04/26/21 Page 28 of 43




the Nation for those claims at the equivalent of an in-Network, non-ITU Pharmacy. These denials,

as applied to an ITU Pharmacy, would undermine the plain requirements of the Recovery Act. See

25 U.S.C. § 1621e. Failure to do so is a breach of the legal duty created by the Recovery Act.

       84.        While these denials may further the PBM’s retail profit strategies, they cut against

the very fabric of the policies buoying ITU Pharmacies and Native American healthcare.

       85.        Defendants violate the Recovery Act by failing to reimburse the Nation for the costs

of goods and services provided by the Nation to Members and submitted to the PBM for

reimbursement in accordance with 25 U.S.C. § 1621e.

D.     Defendants Leverage Discount Programs to Unlawfully Hinder the Nation’s
       Recoupment Benefit

       86.        In a further violation of the Recovery Act, and in an effort to further reap ill-gotten

profits from the Nation, Defendants impose their drug discount programs on the Nation’s ITU

Pharmacies. This creates an unlawful hinderance (see 25 U.S.C. § 1621e(c) 27) on the Nation’s

ability to recoup its costs under the Recovery Act.

       1.         Discount Programs Create Significant Profit for PBMs

       87.        For years, the pharmaceutical industry has leveraged discount programs (or

discount “cards”) for prescription medications to defray the cost of prescription drugs and increase

sales. Indeed, these programs have the ability to save cash-paying customers a substantial sum on

costly medications. They allow the PBM to move certain drugs off their formulary and improve

profit margins.




27
   As set out in Section IV, infra, the Recovery Act provides: “[N]o provision of any contract,
insurance or health maintenance organization policy, employee benefit plan, self-insurance plan,
managed care plan, or other health care plan or program […] shall prevent or hinder the right of
recovery of the United States, an Indian tribe, or tribal organization under subsection (a).” 25
U.S.C. § 1621e(c).


                                                    27
    6:21-cv-00128-PRW Document 2 Filed in ED/OK on 04/26/21 Page 29 of 43




       88.     The amount a retail customer ultimately pays for the discounted prescription drug

under an applicable discount program usually has four cost components:

               a)     Negotiated Discounted Price;

               b)     Pharmacy Transaction Fee; and

               c)     Transaction Fees.

In the retail setting, these costs and fees are passed on to the customer. Discount cards generate

revenue, in part, through these fees, which can reach approximately $36.00 per transaction.

       89.     Retail pharmacies accept drug discount cards from their patients and/or participate

in PBM discount programs (the discounted cost notwithstanding) because, generally:

               a)     The pharmacy continues to earn a profit at the discounted price;

               b)     Customers purchase prescriptions they wouldn’t otherwise purchase
                      because of the discounted price;

               c)     The pharmacy builds customer loyalty (and avoids customer flight if they
                      refuse); and

               d)     The pharmacy can drive non-prescription purchases through the same
                      transaction.

Additionally, because large PBMs control the discount programs vis-a-vis large insurance

contracts, pharmacies may ultimately breach their contract with a larger PBM if they refuse a

discount program that PBM promulgates, even if the discount card results in a loss on the

pharmacy’s part in certain transactions.

       90.     Essentially, when a patient visits a retail pharmacy with a prescription discount card

or program information, the prescription discount is processed through the retail pharmacy’s

software system to the PBM in the same way the pharmacy would process the patient’s insurance

card. The PBM then returns the lowered price the pharmacy may charge the patient, along with

the transaction fees the pharmacy must pay. The pharmacy often adds these transaction fees to the




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    6:21-cv-00128-PRW Document 2 Filed in ED/OK on 04/26/21 Page 30 of 43




patient’s copay. The card reduces the cost of the prescription drug to the patient, who pays the

reduced cost along with administrative fees to the pharmacy. The PBM then seeks whatever

compensation the drug manufacturer had promised it as remuneration for accepting the discount

card.

        91.     This framework simply does not apply to ITU Pharmacies, who traditionally

ignored discount programs because they force ITU Pharmacies to incur a loss on Member

transactions.

        2.      ITU Pharmacies Traditionally Ignored Discount Programs

        92.     Before approximately 2019, discount programs were effectively irrelevant to ITU

Pharmacies. ITU Pharmacies do not charge Members any copays, so the cost of the drug to the

patient was irrelevant. In other words, (a) a Member who pays no cost for a drug has no need to

seek a discounted price, and (b) a pharmacy that does not charge Members has no need to

participate in a discount program. ITU Pharmacies simply ignored discount programs because the

fee structure actually often increased ITU Pharmacy costs (as the fees assessed in coordination

with the discount, which are passed on to the customer-patient in the retail setting, are not assessed

to a Member-patient and become the pharmacy’s responsibility). Discount programs are

unquestionably more expensive and less efficient for the ITU Pharmacy. They convey no

additional benefit to the Member-patient. So, most ITU Pharmacies simply decline to enter

discount program information into their system.

        93.     This option was facilitated in part by the physical distinction and separation

between a Member’s private insurance benefits information and the discount program information

(i.e., this information was literally contained on separate ID or membership cards). So, the Nation

could process the Member’s insurance information for the purposes of the Recovery Act




                                                 29
     6:21-cv-00128-PRW Document 2 Filed in ED/OK on 04/26/21 Page 31 of 43




mechanism while ignoring any discount programs that would increase their costs or force them to

incur a loss on a particular drug.

       3.      Defendants Inextricably Integrated Their Discount Program Information into
               Members’ Insurance Information

       94.     In approximately 2019, Defendants integrated their drug discount program

information with their plan membership ID cards, including those issued to Members. In the past,

discount program information was wholly distinct from the Member’s insurance information,

which allowed an ITU Pharmacy to benefit from the Recovery Act while declining participation

in costly discount programs. However, now, the discount program information is inextricably

integrated with the Member-patient’s insurance benefits information. The Nation has no effective

way to separate them. This forces ITU Pharmacies to make a choice: either (a) take part in the

discount programs at a loss, or (b) forgo the benefits of the Recovery Act on covered medications

in the same transaction. This forced choice, for which the Defendants are wholly responsible, is

an unlawful hinderance to the Recovery Act Mechanism in violation of 25 U.S.C. § 1621e(c).

       4.      Defendants’ Integrated Discount Program Information Forces the Nation to
               Either Pay or Forgo Recovery under the Recovery Act

       95.     Today, the pharmacy automatically receives a log of all discount program

medications coinciding to the PMS’s non-formulary list. When the Nation’s ITU Pharmacies enter

a Member’s insurance information for the purpose of recoupment, the PBM automatically receives

a log of any discount programs applicable to the Member’s transaction. This automatically triggers

the application of the discount program, which impact drugs in the Member’s transaction. 28 This

discount information is coded into the Member’s insurance information at the base level such that


28
  Inherent in the understanding of this scheme is the fact that most patients who visit a pharmacy
for a costly drug subject to a discount program are also receiving other covered medications in the
same transaction.


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     6:21-cv-00128-PRW Document 2 Filed in ED/OK on 04/26/21 Page 32 of 43




it cannot be segregated at the pharmacists’ level. Thus, either (a) the ITU Pharmacist enters the

Member’s private insurance information into the system, which transmits information necessary

to recoup the Recovery Act costs and information that triggers discount program fees if the

Member has prescriptions for eligible drugs or (b) the ITU Pharmacist declines to enter the

information, avoids potential discount program losses, but forgoes any potential recover under the

Recovery Act.

          96.   There is no reasonable method for the Nation to excise the information it needs to

benefit from the Recovery Act from a Member’s data without incurring the costs associated with

discount programs that apply to the same transaction. 29

          97.   The only way for the ITU Pharmacy to avoid incurring fees associated with

discount drug programs is to remove all insurance program information for the Member from its

system and, thereby, forgo any possible recoupment under the Recovery Act for any covered

medications that Member may have been prescribed and filled in the same transaction. Thus,

Defendants’ integrated discount card program undercuts the Nation’s ability to benefit from the

Recovery Act and thereby creates a hinderance to recovery in direct violation of the Recovery Act

§ 1621e(c).

          98.   Consider the example of medroxyprogesterone, which is an injectable drug that is

usually     denied   as   falling   outside   Defendants’    various   formularies. 30   However,

medroxyprogesterone often returns as “payable” despite this lack of coverage. A casual glance at



29
   While the Nation could conceivably inspect each claim by hand, doing so is entirely impractical,
would create untenable cost and workflow burdens on the Nation, and would inexcusably hinder
the Nation’s right to recovery under the Recovery Act in violation of the plain language of the
Recovery Act, 25 U.S.C. § 1621e(c).
30
   Note, as explained above in Section V.B., this denial would be lawful, even under the Recovery
Act, as the drug is not covered for any insured with the Member’s same insurance plan.


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     6:21-cv-00128-PRW Document 2 Filed in ED/OK on 04/26/21 Page 33 of 43




the returned report would incorrectly suggest medroxyprogesterone was covered under the

Member’s insurance plan. However, the drug is marked “payable” as a result of an automatic

discount program encoded to the Member’s prescription benefits.

       99.     The usual and customary charge 31 for medroxyprogesterone is approximately

$280.00. So, the PBM pays the ITU Pharmacy for the ingredient cost (approximately $215.43)

plus a dispensing fee ($4.00), which sums to a $219.43 credit owed to the ITU Pharmacy. The

PBM effectively instructs the ITU Pharmacy to collect the “Patient Pay Amount” from the patient.

But, in the ITU Pharmacy setting, the Member-patient does not pay. Rather, the ITU Pharmacy

absorbs the Member-patient’s copay (which is approximately $220.93). This exceeds the credit by

$1.50. This results in a negative claim—the ITU Pharmacy owes the PBM $1.50 for dispensing

this drug to the Member. The PBM then subtracts the $1.50 from the batch amount the PBM pays

to the ITU Pharmacy during that period. The following chart demonstrates this transaction:

       MEDROXYPROGESTERONE EXAMPLE
       Dispensing Fee Paid:      $ 4.00
       Ingredient Cost Paid:     $ 215.43
       Credit to Nation:         $ 219.43

       Patient Pay Amount:                           $ 220.93
       Member Pays:                                  $ 0.00
       Total Amount Paid by Nation to PBM:           $ -1.50

       100.    A negative claim results when the ITU Member-patient’s co-pay under the discount

program exceeds the sum of the ingredient cost paid plus the dispensing fee. The ITU Pharmacy

is thereby forced to pay the PBM for dispensing medications.

       101.    The Nation’s ITU Pharmacies have no way to (a) avoid the discount programs and

their resultant administrative fees without (b) sacrificing their ability to recoup for other


31
  The “usual and customary” price reflects the cost of the drug to the consumer at the retail level,
without the benefit of insurance. This is sometimes referred to as the “cash price”.


                                                32
    6:21-cv-00128-PRW Document 2 Filed in ED/OK on 04/26/21 Page 34 of 43




reimbursable services provided to the same patient-Member. While the ITU Pharmacy pays this

de facto tax on its ability to recover under the Recovery Act, Defendants capture the high dollar

transaction and administration fees while earning lucrative rebates from the manufacturer. None

of these rebates are subsequently provided to the Nation to offset the cost of the hinderance.

Defendants get their proverbial cookie and a glass of milk, while the ITU Pharmacy pays a fee to

ensure benefits otherwise guaranteed by federal law. This is unlawful.

       102.    To illustrate this conundrum, consider the same Member who filled the

medroxyprogesterone prescription also fills a prescription for insulin. Insulin is covered under the

Member’s insurance plan, so it would result in a covered, positive claim for the ITU Pharmacy

worth approximately $962.00 in reimbursable funds through the Recovery Act mechanism (i.e.,

the PBM would reimburse the Nation for the cost of the insulin). However, if the ITU Pharmacy

wants to recoup that $962.00 for the Member’s insulin, it must also pay the $1.50 negative claim

attached to medroxyprogesterone. While this example ultimately results in a net positive

reimbursement to the ITU Pharmacy, two improper realities are apparent: (1) the discount program

has, in fact, resulted in net negative claims to the Nation’s ITU Pharmacies whereby the Nation

loses money by providing reimbursable services to Members and (2) the $1.50 fee is an unlawful

hinderance to the Nation’s ability to recoup under the Recovery Act under 25 U.S.C. § 1621e(c).

       103.    The example of a $1.50 fee may appear marginal in a vacuum. But it is

devastatingly consequential in the broad scope of the Nation’s healthcare budget. That fee is

replicated across thousands of claims in varying amounts, creating a real and substantial burden

on the Nation’s healthcare budget each year. There is no offset from the IHS or the Government

in the event of recovery; the Nation loses the benefit these funds were intended to have on its

healthcare program. This is unconscionable. Even more so now, with the stress of the COVID-19




                                                33
     6:21-cv-00128-PRW Document 2 Filed in ED/OK on 04/26/21 Page 35 of 43




Pandemic weighing on the Nation’s healthcare system, Defendants demonstrate their malicious

intent (or, at best, their reckless disregard for the rights and wellbeing of the Nation and Members)

in perpetrating this scheme.

E.     Defendants Continually and Intentionally Refuse to Repay the Nation

       104.    The Nation has repeatedly contacted Defendants with demands for (a) payment of

wrongfully denied claims and (b) an explanation of the delay in payment of claims submitted

pursuant to the Recovery Act. Despite the Nation’s clear and persistent efforts, Defendants have

not provided any reasonable or rational justification for their refusal to process and pay the

Nation’s legally authorized claims.

       105.    The CVS Defendants have even paid lip service to a hollow plan to reimburse the

certain ITU Pharmacies outside the Choctaw Nation for unlawfully denied claims. However, their

prolonged inaction belies any real attempt to resolve the problem. 32

       106.    Defendants intentionally and recklessly ignore their obligations under federal law

and wrongfully withhold funds that are rightfully payable to the Nation and benefit therefrom.

       107.    Remarkably, the CVS Defendants have addressed this issue with regard to

Medicare Part D. The CVS Defendants are the largest Medicare Part D administrator in the U.S.

To avoid conflicts with CMS, the CVS Defendants execute an ITU addendum as part of its

Medicare Part D agreements. This ITU addendum avoids improper denials of claims for

recoupment for services the Nation provides to Medicare-insured Members. This addendum shows



32
   IHS and CVS Caremark agreed to a pilot program to develop new claim payment rules. This
included two pilot sites (Phoenix Indian Medical Canter and Chickasaw Nation). On April 30,
2018, The Chickasaw Nation submitted 72,557 unjustly denied claims to CVS Caremark through
the email portal CVS Caremark established for that purpose. To date, the Chickasaw Nation has
received no response. This “pilot program” is yet another strawman in the CVS Defendants’
attempt to avoid repayment.


                                                 34
     6:21-cv-00128-PRW Document 2 Filed in ED/OK on 04/26/21 Page 36 of 43




that the CVS Defendants demonstrably know exactly what they need to do to properly adjust the

Nation’s claims for services to Members. Thus, Defendants have demonstrated a patent and

unrelenting resolve to continue profiting—both intentionally and unlawfully—at the expense and

detriment of the Nation.

F.       Defendants’ Conduct Impairs the Quality of the Nation’s Healthcare Program

         108.   The unlawfully denied claims Defendants continue to refuse to pay represent a

significant burden on funding for the Nation’s healthcare program. Defendants’ unlawful conduct

cuts against federal mandates in support of the health and well-being of Native Americans.

         109.   Further, Defendants’ callous disregard of the Nation’s requests for resolution is

unconscionable and makes clear that Defendants value only their bottom line, and that Defendants

have no intention of complying with federal law—all at the expense of the Nation, its Members,

IHS, and the American taxpayer.

         110.   Defendants have thereby created a serious hazard to the public—those Members

dependent on the Nation’s healthcare system for their health and wellbeing—by means of their

misconduct. They have profited greatly in withholding the Nation’s funds. They have done so for

years without recourse. They have hidden behind false pretenses of remedies with full and

unhindered awareness of their conduct and its impact on the Nation. They have ignored the Nation

in its attempts to resolve these issues without litigation. They have leveraged their vast

conglomerate in an attempt to subject the Nation to its profit-driven whim. This pattern of conduct

demonstrates a reckless disregard for the rights of Native Americans. It demonstrates intent and

malice on the Defendants’ part and warrants an award of punitive damages under 20 Okla. Stat. §

23-91.

         111.   In unlawfully retaining these funds, Defendants knowingly pocketed an essential

funding source for the Nation’s healthcare system. Defendants’ unlawful conduct continues today.


                                                35
    6:21-cv-00128-PRW Document 2 Filed in ED/OK on 04/26/21 Page 37 of 43




                                    VII.        COUNTS

COUNT ONE: Statutory Liability Under 25 U.S.C. § 1621e

       112.    The Nation fully incorporates into this paragraph each and every allegation in the

preceding paragraphs of this Complaint as if each were fully stated herein for its additional claims

against Defendants and further alleges as follows:

       113.    The Nation constitutes an “Indian tribe” as defined in 25 U.S.C. § 1603(14) and as

required in 25 U.S.C. § 1621e(a). Alternatively, the Nation constitutes an “Urban Indian

Organization” under 25 U.S.C. § 1621e(i). The Nation thereby has standing to bring this lawsuit

against Defendants pursuant to 25 U.S.C. § 1621e(e).

       114.    Under 25 U.S.C. § 1621e(a), the Nation is entitled to recover from Defendants the

reasonable charges they billed in providing health services or, if higher, the highest amount

Defendants would pay for care and services furnished by providers other than governmental

entities, to any individual to the same extent that such individual, or any nongovernmental provider

of such services, would be eligible to receive damages, reimbursement, or indemnification for such

charges or expenses if (1) such services had been provided by a nongovernmental provider; and

(2) such individual had been required to pay such charges or expenses and did pay such charges

or expenses.

       115.    The Nation submitted timely claims for reimbursement under 25 U.S.C. § 1621e to

Defendants.

       116.    Defendants refused to reimburse the Nation in accordance with 25 U.S.C. § 1621e.

       117.    Defendants are therefore in violation of 25 U.S.C. § 1621e and liable to the Nation

for the value of these unrecouped funds.

       118.    In addition to the value of these unrecouped funds, Defendants are liable to the

Nation for attorney’s fees and costs of litigation. 25 U.S.C. § 1621e(g).


                                                36
    6:21-cv-00128-PRW Document 2 Filed in ED/OK on 04/26/21 Page 38 of 43




COUNT TWO: Negligence Per Se (or, alternatively, Negligence)

       119.    The Nation fully incorporates into this paragraph each and every allegation in the

preceding paragraphs of this Complaint as if each were fully set forth herein for its additional

claims against Defendants and further alleges as follows:

       120.    The negligence per se doctrine is employed in Oklahoma to substitute statutory

standards for parallel common law, reasonable care duties. The Court may adopt statutory

standards for causes of action for negligence such that Defendants’ violation of the statute

constitutes negligence per se.

       121.    Defendants’ violation of 25 U.S.C. § 1621e caused the Nation’s injuries, as

described in detail herein.

       122.    The Nation’s injuries include but are not limited to

               a)      Defendants’ denial of funds owed to the Nation pursuant to the recoupment
                       mechanism of 25 U.S.C. § 1621e; and

               b)      Defendants’ unlawful hinderance of the Nation’s use of and benefit from
                       the recoupment mechanism of 25 U.S.C. § 1621e.

       123.    Defendants’ conduct is precisely the kind of conduct 25 U.S.C. § 1621e was

designed and enacted to prevent. Defendants’ conduct is directly contrary to the express purpose

of the statute and its intended outcomes. The statute provides positive, objective standards for

conduct on Defendants’ part (which Defendants have violated). The standard of duty 25 U.S.C. §

1621e prescribes is fixed and defined by law; it is the same in all circumstances.

       124.    The Nation, as well as the Members (a) to whom the Nation provided protected

services and (b) for whom the Nation sought reimbursement from Defendants are members of the

class of persons 25 U.S.C § 1621e (as well as the larger statutory construct of the IHCIA) are

designed to protect.




                                                37
       6:21-cv-00128-PRW Document 2 Filed in ED/OK on 04/26/21 Page 39 of 43




         125.   Defendants’ conduct constituted a breach of duty owed to the Nation as a matter of

law.

         126.   Alternatively, at all relevant times, Defendants owed a duty to the Nation and

Members to comply with the federal laws protecting Members’ rights to healthcare and the

Nations’ ability to provide that healthcare at no cost. A reasonable actor, in Defendants’ position,

would have afforded the respect these laws deserve and complied with them.

         127.   Defendants breached this duty by violating 25 U.S.C. § 1621e as described

throughout this Complaint.

         128.   Defendants’ breach of duty proximately caused the Nation’s injuries in a

foreseeable way. At all relevant times, Defendants should have known the harm their wrongful

denials would cause. Defendants, as sophisticated providers of pharmacy and PBM services, were

on notice of the rules governing reimbursements of ITU Pharmacies. Furthermore, the Nation put

Defendants on notice of their wrongful denials and demanded both reimbursement and an

explanation.

         129.   Defendants’ conduct was in reckless disregard for the lives, wellbeing, health, and

safety of Native Americans, especially those Members dependent on the Nation for health services.

Defendants acted intentionally, with malice, in wrongfully withholding the Nation’s funds,

subjecting it to oppressive discount programs, hiding behind false promises of remedies and pilot

programs, and through other reckless and/or intentional conduct. Defendants are therefore liable

to the Nation for punitive damages.

         130.   As a result of Defendants’ wrongful conduct, the Nation has been harmed.

Defendants have deprived the Nation of essential revenue for its healthcare program. Defendants

have hindered the Nation’s ability to generate that revenue through 25 U.S.C. § 1621e.




                                                38
    6:21-cv-00128-PRW Document 2 Filed in ED/OK on 04/26/21 Page 40 of 43




COUNT THREE: Unjust Enrichment

          131.   The Nation fully incorporates into this paragraph each and every allegation in the

preceding paragraphs of this Complaint as if each were fully set forth herein for its additional

claims against Defendants and further alleges as follows:

          132.   Defendants’ conduct warrants a judgment disgorging Defendants of any ill-gotten

gains they acquired from their wrongful and unethical business practices.

          133.   Defendants wrongfully denied claims for recoupment under 25 U.S.C. § 1621e and

thereby continue to unlawfully withhold and retain funds rightfully belonging to the Nation.

          134.   Defendants have taken unfair and/or undue advantage of the Nation by, inter alia,

wrongfully denying claims for recoupment, failing to implement a system that appropriately treats

the Nation’s claims, and forcing the Nation to seek the legal remedies and relief requested in this

Complaint.

          135.   Defendants fully appreciated the enrichment and benefit accorded to them by

retaining monies that should have been paid to the Nation.

          136.   Defendants’ retention of monies that should have been paid to Plaintiff acted to

benefit Defendants at the Nation’s express detriment.

          137.   Defendants’ retention of monies that should have been paid to the Nation under the

circumstances as set forth in this Complaint constitutes not only acts of misconduct, but also

conduct that is patently unfair, unjust, inequitable, dishonest, and fraudulent in relation to the

Nation.

          138.   For the above stated reasons, Defendants, and each of them, were unjustly enriched

to the express detriment and disadvantage of the Nation.

          139.   Defendants should not be allowed to retain any part of the amounts they should

have paid to the Nation.


                                                 39
    6:21-cv-00128-PRW Document 2 Filed in ED/OK on 04/26/21 Page 41 of 43




COUNT FOUR: Injunctive Relief

       140.    The Nation fully incorporates into this paragraph each and every allegation in the

preceding paragraphs of this Complaint as if each were fully set forth herein for its additional

claims against Defendants and further alleges as follows:

       141.    The Nation seeks injunctive relief as contemplated by 25 U.S.C. § 1621e(e).

       142.    Unless enjoined by this Court, Defendants will continue wrongfully denying the

Nation’s claims in the future.

       143.    Defendants’ wrongdoing is ongoing and injuries in the future to the Nation are

irreparable in that Defendants have demonstrated a blatant disregard for federal law and a

persistent desire to retain funds rightfully owed to the Nation.

       144.    There is no adequate and complete remedy at law for Defendants’ continuing

wrongful claim denials.

       145.    The Nation requests the Court enter a permanent injunction ordering Defendants to

               a)      comply with 25 U.S.C. § 1621 in all respects;

               b)      open an inquiry into all claims the Nation has submitted for re-assessment;
                       and

               c)      institute a claims management process that affords ITU Pharmacies the right
                       to recoup funds as provided under the law.

COUNT FIVE: Declaratory Relief

       146.    The Nation fully incorporates into this paragraph each and every allegation in the

preceding paragraphs of this Complaint as if each were fully set forth herein for its additional

claims against Defendants and further alleges as follows:

       147.    The Nation seeks declaratory relief pursuant to 28 U.S.C. § 2201 and as

contemplated by 25 U.S.C. § 1621e(e).

       148.    The Nation seeks the following declarations:


                                                 40
    6:21-cv-00128-PRW Document 2 Filed in ED/OK on 04/26/21 Page 42 of 43




               a)     That all issues are fairly before the Court and not subject to arbitration;

               b)     That Defendants have acted in violation of 25 U.S.C. § 1621e;

               c)     That Defendants are obligated to pay the Nation claims in accordance with
                      25 U.S.C. § 1621e(a);

               d)     That Defendants’ use of discount programs unlawfully hinders the
                      Nation’s ability to avail itself of 25 U.S.C. § 1621e;

               e)     That all monies obtained from the Nation as a result of Defendants’
                      discount program fees have been unlawfully obtained by Defendants from
                      the Nation; and

               f)     That Defendants must provide an accounting to the Nation of all fees
                      received from Plaintiff in connection to Defendants’ discount program.

                           VIII.         PRAYER FOR RELIEF

       WHEREFORE, premises considered, the Nation respectfully prays for judgment in its

favor and against Defendants, jointly and severally, as follows:

               a)     Damages as set out in COUNTS ONE and TWO or, alternatively
                      Disgorgement as set out in COUNT THREE;

               b)     Injunctive Relief as set out in COUNT FOUR;

               c)     Declaratory Relief as set out in COUNT FIVE;

               d)     Attorney’s Fees and Cost of Litigation; and

               e)     Any other relief this Court deems proper.

                                   IX.      JURY DEMAND

       PLAINTIFF, the Choctaw Nation, demands a trial by jury of all issues so tribal pursuant

to Rule 38 of the Federal Rules of Civil Procedure.




                                                41
6:21-cv-00128-PRW Document 2 Filed in ED/OK on 04/26/21 Page 43 of 43




                               Respectfully Submitted,

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                                 42
